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                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS



THE CITY OF CHICAGO,

                         Plaintiff,

                  v.                          Civil Action No. 1:17-cv-5720

JEFFERSON BEAUREGARD SESSIONS III,            Hon. Harry D. Leinenweber
Attorney General of the United States,

                         Defendant.




             BRIEF OF AMICI CURIAE COUNTY OF SANTA CLARA,
       36 ADDITIONAL CITIES, COUNTIES AND MUNICIPAL AGENCIES,
      THE U.S. CONFERENCE OF MAYORS, THE NATIONAL LEAGUE OF
          CITIES, THE NATIONAL ASSOCIATION OF COUNTIES, THE
      INTERNATIONAL MUNICIPAL LAWYERS ASSOCIATION, AND THE
       INTERNATIONAL CITY/COUNTY MANAGEMENT ASSOCIATION

                                  IN SUPPORT OF

     THE CITY OF CHICAGO’S MOTION FOR PRELIMINARY INJUNCTION
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                                           INTRODUCTION

        Amici are 37 cities, counties, and municipal agencies, 1 and five major associations of local

governments and their officials: The United States Conference of Mayors, the National League of

Cities, the National Association of Counties, the International Municipal Lawyers Association, and

the International City/County Management Association. 2 Local governments bear responsibility for

protecting the safety and welfare of our communities. Our law enforcement officials patrol our

streets, operate our jails, investigate and prosecute crimes, and secure justice for victims. To fulfill

these responsibilities, amici cities and counties must build and maintain the trust of our residents,

regardless of their immigration status, and we must be able to adopt policies which foster that trust

and meet our communities’ unique needs.

        Since January, President Trump and his Administration have targeted local jurisdictions, like

the amici cities and counties, that have determined the needs of their communities are best met, and

public safety is best secured, by limiting local involvement with the enforcement of federal

1 The Metropolitan Area Planning Council is the Regional Planning Agency serving the people who live and
work in the 101 cities and towns of Metropolitan Boston. See Massachusetts General Laws Ch. 40B Section
24. The agency provides extensive technical assistance to cities and towns in the Greater Boston region, and
supports the ability of cities and towns to adopt and implement best practices for maintaining a productive
relationship with all residents of their communities, regardless of their immigration status.
2The United States Conference of Mayors is the official non-partisan organization of cities with populations
of 30,000 or more. There are 1,408 such cities in the country today. Each city is represented in the
Conference by its chief elected official, the mayor. The National League of Cities (“NLC”) is dedicated to
helping city leaders build better communities. NLC is a resource and advocate for 19,000 cities, towns and
villages, representing more than 218 million Americans. The National Association of Counties (“NACo”) is
the only national organization that represents county governments in the United States. Founded in 1935,
NACo provides essential services to the nation’s 3,069 counties through advocacy, education, and research.
The International Municipal Lawyers Association (“IMLA”) is owned by its more than 2,500 members and
serves as an international clearinghouse for legal information and cooperation on municipal legal matters.
IMLA’s mission is to advance the responsible development of municipal law through education and advocacy
by providing the collective viewpoint of local governments around the country on legal issues before courts
nationwide. The International City/County Management Association (“ICMA”) is a non-profit professional
and educational organization with more than 11,000 members, the appointed chief executives and
professionals who serve local governments throughout the world.


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immigration law. In one of his first acts upon taking office, President Trump issued an Executive

Order (“Order”) directing his Administration to deny federal funds to so-called “sanctuary”

jurisdictions. Executive Order 13768, §§ 2(c), 9(a). Three months later, Judge William H. Orrick of

the United States District Court for the Northern District of California granted a nationwide

preliminary injunction barring enforcement of Section 9(a) of the Order. Cty. of Santa Clara v. Trump,

No. 17-CV-00574, City & Cty. of San Francisco v. Trump, No. 17-CV-00485, 2017 WL 1459081 (N.D.

Cal. Apr. 25, 2017) (hereinafter Santa Clara). Despite the injunction, the Department of Justice

(“DOJ”) is attempting yet again to deny federal funds to jurisdictions that choose to limit their

participation in enforcing federal immigration law.

        The DOJ’s new conditions on the Edward Byrne Memorial Justice Assistance Grant (“Byrne

JAG”) program violate federal law, usurp local control over public safety policy, erode the

community trust on which local law enforcement depends, and pose serious challenges for local

governments like amici. A nationwide preliminary injunction is required to prevent their

enforcement and protect communities throughout the United States.

                                          BACKGROUND

        Hundreds of local jurisdictions nationwide have concluded they can best promote the safety

and well-being of their communities by limiting their involvement in immigration enforcement. See,

e.g., Jasmine C. Lee, Rudy Omri, and Julia Preston, “What Are Sanctuary Cities,” New York Times

(Feb. 6, 2017), https://www.nytimes.com/interactive/2016/09/02/us/sanctuary-cities.html?

mcubz=1. Although these jurisdictions are just as safe as – if not safer than, see infra at 10-11 – those

that devote local resources to enforcing federal immigration law, President Trump has blamed them

for “needless deaths” and promised to “end . . . [s]anctuary” jurisdictions by cutting off their federal

funding. Transcript of Donald Trump’s Immigration Speech, The New York Times (Sept. 1, 2016),

https://www.nytimes.com/2016/09/02/us/politics/transcript-trump-immigration-speech.html.


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        On January 25, 2017, President Trump issued Executive Order 13768, which directed the

Attorney General and the Secretary of Homeland Security to ensure that “sanctuary jurisdictions”

do not receive any “[f]ederal funds.” Executive Order 13768, §§ 2(c), 9(a). The White House made

clear that the Order aimed to “end[] sanctuary cities” by stripping them of all federal funding. See,

e.g., Press Release, The White House, Office of the Press Secretary, Press Briefing by Press Secretary Sean

Spicer, 2/1/2017, #6 (Feb. 1, 2017), https://www.whitehouse.gov/the-press-office/2017/02/01/

press-briefing-press-secretary-sean-spicer-212017-6.

        Shortly thereafter, the County of Santa Clara and the City and County of San Francisco filed

related lawsuits challenging the Order and moved for a preliminary injunction barring its

enforcement. At oral argument on the motions, DOJ attempted to walk back the Order’s sweeping

language by arguing the Order was merely an “exercise of the President’s ‘bully pulpit’” to exert

political pressure on local government entities, and only applied narrowly to three specific federal

grants (including Byrne JAG). Santa Clara, 2017 WL 1459081, at *1. The district court rejected this

interpretation, finding it irreconcilable with the plain language of the Order, and issued a preliminary

injunction in April prohibiting enforcement of Section 9(a)’s broad funding ban. Id. at *9.

        Then, in May, the Attorney General issued a memorandum that purported to

“conclusive[ly]” interpret the Executive Order, but merely restated the interpretation that DOJ

lawyers had offered at oral argument. Cty. of Santa Clara v. Trump, No. 17-CV-00574, City & Cty. of

San Francisco v. Trump, No. 17-CV-00485, 2017 WL 3086064, at *2 (N.D. Cal. July 20, 2017). The

DOJ relied on this memorandum to seek reconsideration of the preliminary injunction order, but

the district court rejected that attempt. Id. at *9. Thus, the Executive Order remains enjoined on

the ground, among others, that Santa Clara and San Francisco are likely to succeed on their claims

that the Order violates separation of powers principles, the Spending Clause, and the Fifth and

Tenth Amendments to the Constitution. Id. at *21-26.


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        Barred from enforcing the President’s directive to deny all federal funds to jurisdictions that

limit involvement in immigration enforcement, the Attorney General has shifted to a grant-by-grant

approach. On July 25, 2017, the Attorney General announced three conditions applicable to the

Byrne JAG program that require recipients to: (1) “certify compliance with [8 U.S.C.] section 1373,”

which prohibits restrictions on the sharing of citizenship and immigration status information; (2)

“permit personnel of [DHS] to access any detention facility in order to meet with an alien and

inquire as to his or her right to be or remain in the United States” (“access condition”); and (3)

“provide at least 48 hours advance notice to DHS regarding the scheduled release date and time of

an alien in the jurisdiction’s custody when DHS requests such notice in order to take custody of the

alien” (“notice condition”). Compl., Exs. B-D (Dkt. No.1). The DOJ has indicated that these

conditions may be applied to other grants, U.S. Dep’t of Justice, Office of Justice Programs,

Certifications of Compliance with 8 U.S.C. § 1373, https://ojp.gov/funding/Explore/

SampleCertifications-8USC1373.htm, and has made local immigration enforcement a selection

criterion for another federal grant program. 3

        The City of Chicago filed suit to challenge the Byrne JAG conditions on August 7, 2017.

Soon thereafter, the DOJ again changed course and represented that the conditions announced on

3 On August 3, 2017, the DOJ announced that to be selected for the Public Safety Partnership (PSP)
program, local jurisdictions must “show a commitment to reducing crime stemming from illegal
immigration.” U.S. Dep’t of Justice, Office of Public Affairs, Justice Department Announces that
Commitment to Reducing Violent Crime Stemming from Illegal Immigration will be Required for
Participation in Public Safety Partnership Program (Aug. 3, 2017), https://www.justice.gov/opa/pr/justice-
department-announces-commitment-reducing-violent-crime-stemming-illegal-immigration. Applicants are
now required to answer three questions regarding whether their jurisdiction has a policy or practice “designed
to ensure that” (1) DHS has “access to any correctional or detention facility in order to meet with an alien (or
an individual believed to be an alien) and inquire as to his or her right to be or to remain in the United
States”; (2) “correctional and detention facilities provide at least 48 hours advance notice, where possible, to
DHS regarding the scheduled release date and time of an alien in the jurisdiction’s custody when DHS
requests such notice in order to take custody of the alien”; and (3) “correctional and detention facilities will
honor a written request from DHS to hold a foreign national for up to 48 hours beyond the scheduled release
date, in order to permit DHS to take custody of the foreign national.” Id.


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July 25 – and subsequently included in the Fiscal Year 2017 Byrne JAG solicitations – were not

“actual” conditions, but “only advised prospective applicants regarding the general tenor of the

conditions.” Def.’s Opp. To Pl.’s Mot. to Expedite Briefing Schedule, at 3 n.2 (Dkt. No. 28)

(emphasis added). With its opposition to Chicago’s preliminary injunction motion, DOJ has now

submitted a pair of award letters, dated August 23, 2017, that set forth what are purportedly the

“actual” conditions. In these letters, the condition requiring 48 hours’ notice to DHS before an

inmate is released from local custody has been modified to require notice “as early as practicable.”

Declaration of Alan R. Hanson (“Hanson Decl.”), Exs. A & B, ¶¶55-56 (Dkt. No. 32). The letters

also state that the conditions do not “authorize or require any [Byrne JAG] recipient . . . to maintain

(or detain) any individual in custody beyond the date and time the individual would have been

released in the absence of this condition.” Id.

                                              ARGUMENT

I.      Local Officials Must Be Allowed to Adopt Law Enforcement Policies Tailored to the
        Needs and Unique Characteristics of Their Communities.

        Our nation’s constitutional structure is premised on the notion that states and localities, as

the governments closest to the people, bear responsibility for protecting the health and safety of

their residents. See Medtronic, Inc. v. Lohr, 518 U.S. 470, 475 (1996) (“health and safety . . . are

primarily, and historically, matters of local concern”) (internal quotation marks and alterations

omitted). Within the “structure and limitations of federalism,” state and local governments possess

“great latitude under their police powers to legislate as to the protection of the lives, limbs, health,

comfort, and quiet of all persons.” Gonzales v. Oregon, 546 U.S. 243, 270 (2006) (internal quotation

marks omitted). This local control ensures that matters which “concern the lives, liberties, and

properties of the people” are determined “by governments more local and more accountable than a

distant federal bureaucracy.” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 536 (2012).

        The duty to protect local residents from crime lies at the heart of the police power vested in

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state and local jurisdictions. See United States v. Morrison, 529 U.S. 598, 618 (2000) (there is “no better

example of the police power, which the Founders denied the National Government and reposed in

the States, than the suppression of violent crime and vindication of its victims”). In carrying out this

duty, cities and counties possess – and must be allowed to exercise – broad discretion to develop

and implement law enforcement and public safety policies tailored to the needs of their

communities. See United States v. Lopez, 514 U.S. 549, 561 (1995).

        This is a matter not only of constitutional law, but of sound law enforcement policy. Police

chiefs and sheriffs nationwide have stated that “decisions related to how local law enforcement

agencies allocate their resources, direct their workforce and define the duties of their employees to

best serve and protect their communities must be left in the control of local governments.” Major

Cities Chiefs Ass’n, Immigration Policy (2013), https://www.majorcitieschiefs.com/pdf/news/2013_

immigration_policy.pdf. Local control is no less critical when policy decisions concern enforcement

of federal immigration law. See id. (“The decision to have local police officers perform the function

and duties of immigration agents should be left to the local government[.]”).

        Amici share Chicago’s judgment that local participation in federal immigration enforcement

is detrimental to community safety. But one need not agree with Chicago’s specific policy decisions

– or those of the city and county amici – to agree these decisions should rest with the local entities

tasked with keeping our communities safe. The International Association of Chiefs of Police

(“IACP”) has taken no position on whether local law enforcement agencies should engage in

immigration enforcement. IACP, Enforcing Immigration Law: The Role of State, Tribal and Local Law

Enforcement, 1, http://www.theiacp.org/portals/0/pdfs/publications/

immigrationenforcementconf.pdf (hereinafter Enforcing Immigration Law). But the IACP is not

neutral on who should decide whether local police do so. In its view, “local law enforcement’s

participation in immigration enforcement is an inherently local decision that must be made by a police


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chief, working with their elected officials, community leaders and citizens.” Id. at 1 (emphasis

added). Attempts to coerce participation by withholding federal funds are “unacceptable.” Id. at 5.

        In structuring the Byrne JAG program, Congress itself recognized the need for local control

over law enforcement policy. As Chicago has explained, the Byrne JAG program is a formula

grant, 4 available for use in eight broad areas, including law enforcement; prosecution and courts;

prevention and education; corrections and community corrections; drug treatment and enforcement;

planning, evaluation, and technology improvement; crime victim and witness programs; and mental

health. See 42 U.S.C. § 3751(a)(1). Congress structured the program in this manner to “give State

and local governments more flexibility to spend money for programs that work for them rather than

to impose a ‘one size fits all’ solution.” H.R. Rep. No. 109-233, at 89 (2005). Local jurisdictions,

including many of the amici, put these funds to diverse uses, reflecting both the varied law

enforcement needs of different communities and Congress’s intent to preserve local discretion and

flexibility in Byrne JAG-funded law enforcement programs. For example:

    •   Iowa City, Iowa (population 74,398) uses Byrne JAG funds to promote traffic safety, to
        establish a search and rescue program aimed at individuals at risk for wandering, to partially
        fund a drug task force, and to purchase equipment.
    •   Monterey County, California (population 435,232) has used Byrne JAG funds to launch a
        Day Reporting Center that provides moderate-to-high-risk probationers with services
        designed to increase employment rates and reduce recidivism.
    •   Philadelphia, Pennsylvania (population 1,567,872) uses Byrne JAG funds to improve
        courtroom technology; invest in training programs for prosecutors; and support juvenile
        delinquency programs, reentry programs, and indigent defense services.
    •   Portland, Oregon (population 639,863) has used Byrne JAG funds to support its New
        Options for Women (NOW) program, which provides services to women who have
        experienced sexual exploitation while working in the commercial sex industry.
    •   Sacramento, California (population 493,025) uses Byrne JAG funds to support the ongoing
        maintenance and operation of its Police Department’s helicopter program.

4A formula grant is a non-competitive grant in which funds are allocated based upon a statutory formula,
without a competitive process. Department of Justice Programs, Grants 101, Overview of OJP Grants and
Funding, Types of Funding, https://ojp.gov/grants101/typesoffunding.htm.


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      •   San Francisco, California (population 870,887) uses Byrne JAG funds to operate a Youth
          Adult Court aimed at reducing recidivism for youth ages 18-25 by providing case
          management and other services that account for young adults’ unique developmental needs.

          If DOJ’s new conditions are allowed to stand, local governments will be forced to choose

between losing critical funding for these diverse programs or giving up control over inherently local

law enforcement policies. Such a result would not only undermine the ability of local entities to

enact policies reflecting the needs and unique characteristics of their communities, but also allow the

executive branch to wield powers vested exclusively in Congress. Under the Spending Clause, only

Congress – whose members are elected by and accountable to local communities – can place

substantive conditions on federal funds. S. Dakota v. Dole, 483 U.S. 203, 206 (1987) (“Incident to [its

Article I spending] power, Congress may attach conditions on the receipt of federal funds[.]”)

(emphasis added). In the case of Byrne JAG funding, Congress chose to preserve local discretion,

and DOJ has no authority to upend that decision.

II.       Policies Restricting Local Immigration Enforcement Promote Public Safety.

          In exercising its discretion over local law enforcement policy, Chicago has made the

considered judgment that devoting local resources to immigration enforcement would be

detrimental to community safety. Compl., ¶¶ 2, 25. Chicago is not alone in this judgment. More

than 600 counties and numerous cities – including many of the amici – have opted to limit their

engagement in federal immigration enforcement efforts. Tom K. Wong, Center for American

Progress, The Effects of Sanctuary Policies on Crime and the Economy, ¶ 12 (2017) (hereinafter “Effects of

Sanctuary Policies”) (identifying 608 counties coded by Immigration and Customs Enforcement

(“ICE”) as limiting involvement with immigration enforcement), https://www.americanprogress.

org/issues/immigration/reports/2017/01/26/297366/the-effects-of-sanctuary-policies-on-crime-

and-the-economy/; Immigrant Legal Resource Center, Detainer Policies,

https://www.ilrc.org/detainer-policies (listing city and county policies to decline detainer requests).

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The policies of these counties and cities are themselves diverse, reflecting the varied needs and

judgments of each jurisdiction. 5

        Policies that restrict local entanglement with ICE reflect the judgment of local governments

and law enforcement agencies that community trust in local law enforcement is vital to the work of

public safety. Local law enforcement agencies rely upon all community members – regardless of

immigration status – to report crimes, serve as witnesses, and assist in investigations and

prosecutions. See, e.g., Chuck Wexler, “Police chiefs across the country support sanctuary cities

because they keep crime down,” Los Angeles Times (Mar. 6, 2017), http://www.latimes.com/

opinion/op-ed/la-oe-wexler-sanctuary-cities-immigration-crime-20170306-story.html. Immigrants –

again, regardless of immigration status – are less likely to commit crimes than native U.S. citizens.

See, e.g., Cato Institute, Criminal Immigrants: Their Numbers, Demographics, and Countries of Origin, 1 & n.4,

2 (Mar. 15, 2017), https://object.cato.org/sites/cato.org/files/pubs/pdf/immigration_brief-1.pdf.

But “[t]he moment [immigrant] victims and witnesses begin to fear that their local police will deport

them, cooperation with their police then ceases.” Border Insecurity: The Rise of MS-13 and Other

Transnational Criminal Organizations, Hearing before the Committee on Homeland Security and

Governmental Affairs of the United States Senate (May 24, 2017) (statement of J. Thomas Manger,

Chief of Police, Montgomery County, Maryland). Indeed, in the experience of amici, even the

perception that local law enforcement is assisting in immigration enforcement can erode trust, disrupt

lines of communication, and make law enforcement’s job much more difficult.

        Recent data bear this out. Since President Trump took office and promised to ramp up

5 See, e.g., County of Santa Clara, Bd. of Supervisors Policy No. 3.54, https://www.sccgov.org/
sites/bos/Legislation/BOS-Policy-Manual/Documents/BOSPolicyCHAP3.pdf; Houston Police Dep’t,
Immigration Policy Questions and Answers, http://www.houstontx.gov/police/pdfs/immigration_facts.pdf;
King County Code § 2.15.010-2.15.020, http://aqua.kingcounty.gov/council/clerk/code/05_Title_2.pdf ;
Tucson Police Dep’t Gen. Orders, Gen. Order 2300, https://www.tucsonaz.gov/files/police/general-
orders/2300IMMIGRATION.pdf.


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deportations, Latinos have reported fewer crimes relative to reports by non-Latinos. Rob Arthur,

Latinos In Three Cities Are Reporting Fewer Crimes Since Trump Took Office (May 18, 2017) (analyzing data

from Dallas, Denver, and Philadelphia), https://fivethirtyeight.com/features/latinos-report-fewer-

crimes-in-three-cities-amid-fears-of-deportation/. Disturbingly, some jurisdictions have identified

declines specifically in reports of sexual assault and domestic violence. Id. 6 Local police chiefs have

attributed these declines to community members’ increased fear that interactions with law

enforcement could lead to their deportation, or the deportation of a family member. Id.; see also supra

at 10 n.6. Indeed, 50% of foreign-born individuals and 67% of undocumented individuals surveyed

reported being less likely to offer information about crimes to law enforcement for fear that officers

will inquire about their or others’ immigration status. Nik Theodore, Dep’t of Urban Planning and

Policy, University of Chicago, Insecure Communities: Latino Perceptions of Police Involvement in Immigration

Enforcement, 5-6 (2013), http://www.policylink.org/sites/default/files/INSECURE_

COMMUNITIES_REPORT_FINAL.PDF.

        Local policies that limit entanglement with ICE help mitigate these fears, facilitate

engagement with immigrant communities, and ultimately improve public safety by ensuring that

those who commit crimes are brought to justice. Contrary to President Trump and Attorney

General Sessions’ unsupported rhetoric, research has shown that policies limiting cooperation with

federal immigration authorities are associated with lower crime rates – on average, 35.5 fewer crimes

per 10,000 people. Effects of Sanctuary Policies, ¶ 16. The association is even stronger in large

metropolitan areas: counties with large, urban centers that limit local involvement with ICE


6 See also Brooke A. Lewis, “HPD chief announces decrease in Hispanics reporting rape and violent crimes
compared to last year,” Houston Chronicle (Apr. 6, 2017), http://www.chron.com/news/houston-
texas/houston/article/HPD-chief-announces-decrease-in-Hispanics-11053829.php; James Queally, “Latinos
are reporting fewer sexual assaults amid a climate of fear in immigrant communities, LAPD says,” Los Angeles
Times (Mar. 21, 2017), http://www.latimes.com/local/lanow/la-me-ln-immigrant-crime-reporting-drops-
20170321-story.html.


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experience 65.4 fewer crimes per 10,000 people than similar counties that do not limit such

involvement. Id., ¶ 15.

        If the new Byrne JAG conditions are not enjoined, jurisdictions like Chicago and some of

the amici will be compelled to make choices that undermine public safety: either abandon non-

entanglement policies that increase community trust and lower crime rates, or lose funding for

critical law enforcement programs. This is not a choice that cities and counties should have to

make, and, as Chicago has demonstrated, it is not one that DOJ has the legal authority to impose.

III.    The Byrne JAG Conditions Have Created Uncertainty and Operational Challenges
        for Jurisdictions Nationwide.

        Since President Trump’s Executive Order punishing sanctuary jurisdictions was issued, the

DOJ’s position on immigration-related funding conditions has become a constantly moving target.

See supra at 3-5. The new Byrne JAG conditions are surrounded by an untenable level of uncertainty

and pose operational challenges for jurisdictions that rely on this funding.

        Notice Condition. As announced by the Attorney General and described in the FY 2017

solicitations, the new notice condition required Byrne JAG recipients to “provide at least 48 hours’

advance notice to DHS regarding the scheduled release date and time of an alien in the jurisdiction’s

custody.” Compl., Ex. C & Ex. D at 30 (emphasis added). This created serious constitutional and

operational concerns for local jurisdictions, including some amici, that operate detention facilities

whose populations are primarily – or exclusively – unsentenced individuals held in custody pending

resolution of criminal charges or transfer to another facility. See Bureau of Justice Statistics, Jail

Inmates in 2015, at 5 tbl. 4 (2016), https://www.bjs.gov/content/pub/pdf/ji15.pdf (63% of jail

inmates nationwide are unsentenced).

        Unsentenced inmates typically do not have a “scheduled release date and time” that can be

determined 48 hours in advance, and many are in custody for less than 48 hours before they post

bail or are ordered released. For this reason, the Attorney General’s announcement and the FY

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2017 solicitation created confusion and concern that the notice condition may have been intended to

require local jurisdictions to affirmatively continue to detain unsentenced inmates after they would

otherwise be released in order to provide sufficient notice to DHS – a practice that could violate

those inmates’ Fourth Amendment rights and subject local jurisdictions to significant liability. See,

e.g., Orellana v. Nobles Cty., 230 F. Supp. 3d 934, 946 (D. Minn. 2017); Mendia v. Garcia, No. 10-CV-

03910-MEJ, 2016 WL 2654327, at *6-7 (N.D. Cal. May 10, 2016); Morales v. Chadbourne, 996 F. Supp.

2d 19, 39 (D.R.I. 2014); Miranda-Olivares v. Clackamas Cty., No. 3:12-cv-02317, 2014 WL 1414305 at

*9-11 (D. Or. Apr. 11, 2014).

        DOJ now represents that this condition requires notice only “as early as practicable,” and

does not require any locality to hold an inmate beyond the time he or she would otherwise be

released. Def.’s Opp. to Pl.’s Mot. for Preliminary Injunction, 20 (Dkt. No. 32); Hanson Decl., Exs.

A & B, ¶¶55-56. Even assuming DOJ adheres to this latest articulation of the condition, it

nonetheless presents operational concerns: for agencies that detain arrestees and unsentenced

individuals, there are likely to be many instances in which giving any advance notice is impracticable.

It also conflicts with the local laws or policies of some amici, which have limited their responses to

ICE notification requests for the reasons discussed in Section II, supra. Moreover, given DOJ’s

inconsistent position, amici remain concerned about how this condition will be enforced in practice.

        Access Condition . The award letters submitted by DOJ with its opposition to Chicago’s

preliminary injunction motion require Byrne JAG recipients to have a policy or practice in place to

ensure that federal agents “in fact are given access” to a local “correctional facility for the purpose of

permitting such agents to meet with individuals who are (or are believed by such agents to be) aliens

and to inquire as to such individuals’ right to be or remain in the United States.” Hanson Decl.,

Exs. A & B, ¶56(1)(A). The award letter does not explain what “access” “in fact” means, leaving

jurisdictions to guess at what they must do to comply and, in some cases, whether compliance is


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consistent with state law. In California, state law requires local agencies to provide a written consent

form prior to any interview with ICE that explains the purpose of the interview, that the interview is

voluntary, and that the inmate may decline to be interviewed or choose to be interviewed only with

his or her attorney present. Cal. Gov’t Code § 7283.1(a). In other jurisdictions, inmates must be

permitted to have an attorney present during any interview with federal immigration officials. See

D.C. Code § 24-211.07(d)(1). Because it is unclear how DOJ will ultimately decide to enforce or

interpret the access condition, the condition creates concern and confusion for local jurisdictions

that wish to receive Byrne JAG funding while fully complying with state law.

        Whether to allow ICE to operate inside city and county detention facilities is an inherently

local decision that should be left to local governments and local law enforcement officials. See

Enforcing Immigration Law at 1. Local agencies are responsible for maintaining order and security

within jails and other detention facilities, and they must retain the discretion to decide how that

responsibility is best fulfilled. Some jurisdictions have made the judgment that permitting ICE to

operate in local detention facilities interferes with correctional operations – for example, by

increasing fear among inmates and decreasing their trust of correctional staff – and is not in the best

interests of staff, inmates, or the broader community. See, e.g., Cook County Code § 46-37(b);

County of Santa Clara, Bd. of Supervisors Policy No. 3.54, https://www.sccgov.org/sites/bos/

Legislation/BOS-Policy-Manual/Documents/BOSPolicyCHAP3.pdf. 7 Moreover, local officials

have already expressed concern that ICE’s practice of arresting immigrants at courthouses will deter

7 See also Jon Murray, The Denver Post, “Denver elevates immigration stance with an ordinance that
advocates hail as supportive but ICE calls ‘dangerous’” (Aug. 28, 2017), http://www.denverpost.com/
2017/08/28/denver-elevates-immigration-stance-no-asking-about-status-but-limited-info-sharing-includes-
jail-release-notifications (describing new ordinance that bars ICE agents from accessing secure areas in jails
for inmate interviews, among other provisions); Denver City Council, Legislation, File No. 17-0940,
https://denver.legistar.com/LegislationDetail.aspx?ID=3128614&GUID=3A568876-8302-4856-AFA4-
F505A637FFD9&Options=&Search= (providing status and text of the Public Safety Enforcement Priorities
Act).


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immigrants from appearing in court to answer charges, thereby endangering prosecutions. See, e.g.,

James Queally, “ICE agents make arrests at courthouses, sparking backlash from attorneys and state

supreme court,” Los Angeles Times (Mar. 16, 2017), http://www.latimes.com/local/lanow/la-me-ln-

ice-courthouse-arrests-20170315-story.html. Immigrant inmates who see ICE operating in local jails

or detention facilities may assume that ICE is permitted in other government buildings, such as

courthouses, and may be more likely to abscond, denying victims the opportunity for justice.

       Section 1373. Finally, the Trump Administration has created uncertainty over how it

intends to enforce requirements that federal grant recipients comply with 8 U.S.C. § 1373. On its

face, section 1373 addresses only state and local restrictions on the sharing of information on

citizenship or immigration status with ICE or other governmental entities; the statute does not

mandate that state and local governments collect this information, or impose any additional

requirements. See 8 U.S.C. § 1373. Nonetheless, the Administration has repeatedly suggested that a

broad range of local policies – including policies limiting compliance with ICE detainer requests –

do not comply with section 1373. See U.S. Dep’t of Justice, Office of Public Affairs, Attorney General

Sessions Delivers Remarks on Sanctuary Policies (Aug. 16, 2017), https://www.justice.gov/opa/speech/

attorney-general-sessions-delivers-remarks-sanctuary-policies (suggesting that Miami-Dade County is

“now in full compliance” following its decision to begin honoring detainer requests); Compl., Ex. C

(section 1373 “generally bars restrictions on communications” between local agencies and DHS).

       After requiring 10 jurisdictions, including Chicago and Philadelphia, to document their

compliance with section 1373, DOJ still has not informed all jurisdictions whether it believes they

comply. Compl. ¶ 68; Mem. Of Law in Supp. of Pl.’s Mot. for Preliminary Injunction, at 24 (Dkt.

No. 23). DOJ’s failure to provide a clear interpretation of section 1373 has created uncertainty, and

suggests that it reads section 1373 more broadly than the plain language can support – leaving

jurisdictions to wonder what position DOJ will take once it begins enforcing the new Byrne JAG


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conditions. Local jurisdictions may not lawfully be placed in this position. See Pennhurst State Sch. &

Hosp. v. Halderman, 451 U.S. 1, 17 (1981) (even where Congress imposes conditions on receipt of

federal funds, “it must do so unambiguously” and cannot leave a grant recipient “unable to ascertain

what is expected of it”).

                                          CONCLUSION

        By structuring the Byrne JAG program as a broad formula grant, Congress recognized the

need for local discretion over law enforcement programs, and created a (non-competitive) source of

funding on which local jurisdictions should be able to rely. The new conditions imposed by

Attorney General Sessions upend congressional intent. Instead of preserving flexibility for local

operations, the new conditions constrain local choices and require localities to adopt federally

mandated policies that will make their communities less safe. Instead of preserving a reliable stream

of funding, DOJ’s shifting positions force localities to guess at whether DOJ will deem them eligible

for funding – and whether they will be able to comply with the conditions on that funding if they

accept it. A nationwide injunction is needed to halt DOJ’s unlawful effort to impose these

conditions on local jurisdictions and to protect the safety of communities across the country.




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Dated: August 31, 2017             Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of Brief of Amici Curiae County of Santa Clara,

36 Additional Cities, Counties and Municipal Agencies, The U.S. Conference of Mayors, the

National League of Cities, the National Association of Counties, the International Municipal

Lawyers Association, and the International City/County Management Association in Support of the

City of Chicago’s Motion for Preliminary Injunction was served on August 31, 2017 via this Court’s

ECF filing system, whereupon all counsel of record were served.



                                                      /s Brian C. Haussmann




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